              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                       Plaintiff,      )
                                       )
        vs.                            )      No. 13-03054-08-CR-S-BCW
                                       )
TIMOTHY EDWARD HOWER,                  )
                                       )
                       Defendant.      )

                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One in the Third Superseding

Indictment filed on September 30, 2014.            After cautioning and

examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was

knowledgeable and voluntary, and that the offense charged is

supported by a factual basis for each of the essential elements of

the offense.     I therefore recommend that the plea of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date:     December 17, 2014             /s/ James C. England
                                       JAMES C. ENGLAND
                                       UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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